Case 1:18-cv-00191-TSE-JFA Document 161-5 Filed 12/18/18 Page 1 of 21 PageID# 2475




                               EXHIBIT 5
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 2 of 21 PageID# 223
                                                                               2476
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 3 of 21 PageID# 224
                                                                               2477
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 4 of 21 PageID# 225
                                                                               2478
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 5 of 21 PageID# 226
                                                                               2479
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 6 of 21 PageID# 227
                                                                               2480
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 7 of 21 PageID# 228
                                                                               2481
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 8 of 21 PageID# 229
                                                                               2482
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 04/13/18
                                                 12/18/18 Page 9 of 21 PageID# 230
                                                                               2483
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 10 of 21 PageID# 2484
                                                                                231
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 11 of 21 PageID# 2485
                                                                                232
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 12 of 21 PageID# 2486
                                                                                233
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 13 of 21 PageID# 2487
                                                                                234
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 14 of 21 PageID# 2488
                                                                                235
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 15 of 21 PageID# 2489
                                                                                236
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 16 of 21 PageID# 2490
                                                                                237
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 17 of 21 PageID# 2491
                                                                                238
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 18 of 21 PageID# 2492
                                                                                239
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 19 of 21 PageID# 2493
                                                                                240
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 20 of 21 PageID# 2494
                                                                                241
Case
 Case1:18-cv-00191-TSE-JFA
      1:18-cv-00191-TSE-JFA Document
                             Document161-5
                                      30-1 Filed 12/18/18
                                                 04/13/18 Page 21 of 21 PageID# 2495
                                                                                242
